   Case 4:16-cv-00282-DCB-PSOT          Document 80     Filed 10/19/18   Page 1 of 1




                     UNITED STATES COURT OF APPEALS                         FILED
                            FOR THE NINTH CIRCUIT                           OCT 19 2018
                                                                         MOLLY C. DWYER, CLERK
                                                                          U.S. COURT OF APPEALS
ANANT KUMAR TRIPATI,                              No.    18-16446

                 Plaintiff-Appellant,             D.C. No.
                                                  4:16-cv-00282-DCB-PSOT
  v.                                              District of Arizona,
                                                  Tucson
CORIZON, INC., Health Care Provider,
ADOC; et al.,                                     ORDER

                 Defendants-Appellees.

Before: O'SCANNLAIN, BERZON, and IKUTA, Circuit Judges.

       This court has reviewed the notice of appeal filed July 24, 2018 in the

above-referenced district court docket pursuant to the pre-filing review order

entered in docket No. 93-80317. Because the appeal is so insubstantial as to not

warrant further review, it shall not be permitted to proceed. See In re Thomas, 508

F.3d 1225 (9th Cir. 2007). Appeal No. 18-16446 is therefore dismissed.

       All pending motions are denied as moot.

       This order, served on the district court for the District of Arizona, shall

constitute the mandate of this court.

       No motions for reconsideration, rehearing, clarification, stay of the mandate,

or any other submissions regarding this order shall be filed or entertained.

       DISMISSED.



MF/Pro Se
